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																							Opinion and Summaries

											
					
				

													
			
		
	


						
				

					
			2021 OpinionsWeb Editor2021-02-08T09:34:53-05:00
			
			
				DISCLAIMER:
These opinions are subject to the parties’ motion for reconsideration, the Court’s reconsideration, and editorial changes made by the Reporter of Decisions.&nbsp; An opinion designated as “Final Copy” is the Supreme Court’s official opinion as published in the advance sheets.&nbsp; Please Note: Adobe Acrobat Reader is necessary to read the following opinions. You may download Adobe Acrobat Reader here if necessary. Thank you.

February
February 5, 2021

S18Y0821. IN THE MATTER OF DAVID E. MORGAN III&nbsp; Reinstatement issued.

February
February 1, 2021 – SUMMARIES for NOTEWORTHY&nbsp;OPINIONS

S20G0528. JEFFERSON v. THE STATE
S20G0584. OCONEE COUNTY v. CANNON et al.
S20A1205. POLO GOLF AND COUNTRY CLUB HOMEOWNERS ASSOCIATION, INC. v. CUNARD et al.
S20A1230. KITCHENS v. THE STATE
S20A1477. JORDAN v. THE STATE
S20A1571. HENDERSON v. THE STATE
S20A1574, S20X1575. HALL, WARDEN v. JACKSON (and vice versa)
S21A0113. KIRKLAND v. THE STATE
S21A0256. ALLEN v. THE STATE
S21A0381. MIDDLEBROOKS v. THE STATE
S21Y0355. IN THE MATTER OF WILLIAM D. THOMPSON JR.
S21Z0449. IN THE MATTER OF STEPHEN VINCENT FITZGERALD, JR.


January
January 11, 2021

S20A1118. PALMER v. THE STATE

S21A0207. NESBY v. THE STATE

S20A1288. HARPER v. THE STATE

S20A1289. JOHNSON v. THE STATE

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		News and Reports
		
											
					2/7/2021 – STATEWIDE JUDICIAL EMERGENCY EXTENDED
									
											
					1/7/2021 – SHAWN LAGRUA SWORN INTO GA SUPREME COURT
									
											
					12/22/2020 – CHIEF JUSTICE TO SUSPEND JURY TRIALS
									
											
					12/9/2020 – JUDGES URGED TO EXERCISE RENEWED CAUTION FOR IN-PERSON COURT PROCEEDINGS IN LIGHT OF COVID SURGE
									
					

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